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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case       No.      -    Civ

  DOMINIC HOWARD
  and KAREN HAAS,

        Plaintiffs,

  vs.

 AIA HOLDINGS, INC., a Florida foreign corporation,
 ALLEGHENY CASUALTY CO., a Florida foreign
 corporation, INTERNATIONAL FIDELITY
 INSURANCE CO., a Florida foreign corporation,
 BANKERS INSURANCE CO., a Florida corporation,
 BANKERS INSURANCE GROUP, INC., a Florida corporation,
 BANKERS SURETY SERVICES, INC., a Florida corporation,
 NATHAN FOLTZ, individually and d/b/a SOUTH SHORE
 BAIL BONDS, CHARLES HOLLAND, individually,
 CHARLES HOLLAND, INC., a California corporation, d/b/a
 GOLD COUNTRY BAIL BONDS and CHI MONITORING,
 MICHAEL WHALEN, individually, and
 SULEIMAN HABIB YOUSEF, individually.

        Defendants.


            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

        Plaintiffs, Dominic Howard (Howard), by and through undersigned counsel, and Karen

 Haas (Haas), in proper person, sue Defendants AIA Holdings, Inc., a Florida foreign corporation

 (AIA); Allegheny Casualty Co. (Allegheny), a Florida foreign corporation; International Fidelity

 Insurance Company (Fidelity), a Florida foreign corporation; Bankers Insurance Company

 (Bankers), a Florida corporation; Bankers Insurance Group, Inc.(BIG), a Florida corporation;

 Bankers Surety Services, Inc. (BSSI), a Florida corporation; Nathan Foltz (Foltz), individually
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  and d/b/a South Shore Bail Bonds; Charles Holland (Holland), individually; Charles Holland,

  Inc. (Holland, Inc. or CHI Monitoring), a California corporation, d/b/a Gold Country Bail Bonds

  and CHI Monitoring (CHI); Michael Whalen (Whalen), individually; and Suleiman Habib

  Yousef (Yousef); individually, and allege as follows:

                                          INTRODUCTION

          1. This action for damages, costs, and attorney's fees is brought pursuant to 18 U.S.C.

  §§ 1961-68 against a number of defendants who engaged in a pattern of racketeering activity and

  collection of unlawful debt. Defendants include without limitation, persons (bail industry

  participants) who conspired to defraud Plaintiffs and others by preparing false documents and

  forged bail bonds. By illegally retaining or extorting bail premiums, all acted in concert to make

 their cut of the bail bond premiums. Plaintiff was objectively and lawfully at his mother's

 residence in Miami, Florida on Thanksgiving weekend when the documents show Defendants

  claimed Plaintiff was bailed out of jail in California, and that Plaintiffs had supposedly paid for

 that. Defendants demanded payment and interest on this forged bail contract. The end result was

 multiple threats and actual violent armed episodes against Plaintiffs and others.

                                   JURISDICTION AND VENUE

         2. The Court has jurisdiction over this action under the Racketeer Influenced and Corrupt

  Organizations Act, 18 U.S.C. § 1964(c), and 28 U.S.C. § 1331, and applicable principles of

  supplemental jurisdiction under 28 U.S.C. § 1367(a).

         3. Venue is proper under 28 U.S.C. § 1391(b)(l),(2), and (d) and 18 U.S.C. § 1965.

 Defendants Bankers, BIG and BSSI are Florida corporations, and Defendant Yousef, resides in

 the Southern District of Florida, and a substantial part of the events and omissions giving rise to
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  Plaintiffs' claims occurred in this District.

                                                  PARTIES

         4. At all times material hereto, Plaintiffs, Dominic Howard (Howard) and Karen Haas

  (Haas), were and are residents of Miami, Miami-Dade County, Florida, who sustained injuries to

  their business and property by reason of Defendants' unlawful behavior. Plaintiff, Haas, is an

  AV-ranked attorney with an appellate and trial practice, and former Miami-Dade prosecutor.

         5. AIA Holdings, Inc. (AIA) was and is a Delaware corporation made up of Defendants

  Allegheny and Fidelity, and a third company, Associated Bond. AIA is self-described as the

  nation's "oldest and largest family of bail bond insurance companies." AIA has its principal

  place of business in Calabasas, California. Under a Managing General Agent agreement between

  AIA and Fidelity, AIA engages in all bail bonds marketing and underwriting on behalf of the

  Allegheny, Fidelity, and the Associated Bond consortium.

         6. At all times material hereto, Allegheny (Allegheny) was and is a New Jersey licensed

  insurance corporation, registered and qualified to do business in the State of California and the

  State of Florida. Allegheny is a subsidiary of International Fidelity Insurance Company.

         7. Defendant International Fidelity Insurance Company (Fidelity) was and is a New Jersey

  corporation, with its principal place of business in California, registered and qualified to do

 business in the State of California and the State of Florida.

         8. At all times material hereto, Bankers Insurance Company (Bankers), was and is a

 Florida corporation, organized and existing under the laws of the State of Florida, qualified to do

 business in the State of California and the State of Florida, with its principal place of business in

 St. Petersburg, Florida.
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         9. At all times material hereto, Bankers Insurance Group (BIG), was and is a Florida

  corporation, organized and existing under the laws of the State of Florida, qualified to do

 business in the State of California and the State of Florida, with its principal place of business in

  St. Petersburg, Florida. It is a subsidiary of Bankers Financial Corporation and the corporate

 parent of their insurance companies.

         10. At all times material hereto, Bankers Surety Services, Inc. (BSSI), was and is a

 Florida corporation, organized and existing under the laws of the State of Florida, qualified to do

 business in the State of California and the State of Florida, with its principal place of business in

  St. Petersburg, Florida. It is a managing general surety agent for Bankers Insurance Company

 (Bankers), and Michael Whalen (Whalen) was its Executive Vice-President.

         11. At all material times hereto, Defendant Nathan Foltz (Foltz), was a non-resident of

 the State of Florida, residing in the State of California, owner and d/b/a South Shore Bail Bonds,

 and Agency Bail Bonds of Tahoe. He is an employee/agent of Holland/Holland, Inc. and has

 power of attorney as a subproducer to act as agent of Defendants Bankers, BIG , BSSI, AIA,

 Allegheny, and Fidelity. He is a California bail bond agent, License # 1841566. Foltz was an

 authorized agent named and appointed to transact on behalf of Bankers, BIG and BSSI as of May

 4, 2014 and at least until February, 2017. Alternatively, Foltz's employer effective February 9,

  1999 is Holland, and Foltz is authorized to transact on behalf of Holland, Inc. effective

 December 13, 2007. Thus at all material times, Foltz is an authorized agent on behalf of Bankers.

 Foltz also is and was an authorized agent named and appointed to transact on behalf of AIA,

 Allegheny, and Fidelity effective August 8, 2015.

         12. At all times material hereto, Defendant Charles Holland (Holland), was a non-resident
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  of the State of Florida, residing in the State of California, and employer/principal of Defendants

  Foltz and Yousef; and has power of attorney as a producer to act as agent for Defendants

  Bankers, BIG, BSSI, and Defendants, AIA, Allegheny, and Fidelity. Holland is an experienced

  bail bondsman in the Lake Tahoe/Placerville area. He is a California bail bond agent, License

  #1841111. Holland is and was an authorized agent named and appointed to transact on behalf of

  Bankers, BIG and BSSI effective April 13,1998. Holland also is and was an authorized agent

  named and appointed to transact on behalf of AIA, Allegheny and Fidelity effective July 27,

  2015.

          13. At all times material hereto, Charles Holland Inc. (Holland, Inc.), was and is a

  California corporation, organized and existing under the laws of the California, qualified to do

  business in the State of California and doing business as Charles Holland Bail Bonds, Aaronic

  Bail Bonds, Gold Country Bail Bonds, Hangtown Bail Bonds, Absolve Bail Bonds, and North

  State Bail Bonds, and is employer/principal of Defendants Foltz andYousef, with power of

  attorney as a producer to act as agent for Defendants Bankers, BIG and BSSI, and Defendants

  AIA, Allegheny and Fidelity. Holland, Inc. has a California bail bond agent license #1844429,

  which lists five (5) bail agent employees. Holland, Inc. is and was an authorized agent named and

  appointed to transact on behalf of Bankers, BIG and BSSI effective December 13, 2007; and is

  and was an authorized agent to transact on behalf of AIA, Allegheny and Fidelity effective July

 27, 2015. Further, Charles Holland, Inc. also does business as "CHI Monitoring" providing

 probation services of electronic monitoring for out-of-county residents for the El Dorado County

 Probation Department, and as such will be referred to as "CHI."

          14. At all times material hereto, Defendant Michael Whalen (Whalen), was and is Vice-
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  President of Defendants AIA, Allegheny and Fidelity since 2011; and formerly Executive Vice-

  President of BSSI, and supervises Foltz, Holland/Holland, Inc. at AIA, and previously

  supervised them at BSSI. When Whalen left Bankers for AIA, Allegheny, and Fidelity in 2011,

  Foltz, Holland, and Holland, Inc. followed him to AIA, Allegheny, and Fidelity, in July and

  August of 2015. Whalen is an officer or director at the executive level for AIA. Whalen currently

  works and resides in Naples, Florida.

          15. At all times material hereto, Defendant Suleiman Habib Yousef (Yousef), was and is

  a resident of Miami, Miami-Dade County, Florida, and employee/agent of Defendants Foltz,

  Holland, and Holland, Inc., and agent of AIA, Allegheny, and Fidelity. Yet, according to the laws

  of California and Florida, at no point was Yousef lawfully allowed to take any actions on a bail

  bond contract for any of the defendants.

                                                   FACTS

         How bail bonds are supposed to work

          16. Bail agents are sales agents of the sureties. Sureties are supposed to provide bail

  contracts that conform to state law, and producer contracts for their bail agents that reflect a bail

  bond is an insurance contract by the sureties.

          17. On May 4, 2014 Howard was arrested on a victimless misdemeanor in California.

  Plaintiffs negotiated the terms of the bail contract, agreeing to pay a one-time payment of $ 200

  total premium for a $ 2,500 bail bond. Bankers/BIG bailed out Howard on that date through its

  bail sale agent Foltz using their power of attorney. (See, Bankers/BIG's Bail Bond Contract

  attached hereto as "Ex. A"). During the discovery phase, Howard believed a jury was entitled to

  see the police videos of Howard's alleged misdemeanor, and took an interlocutory appeal. It was


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 over a year before oral argument. Bankers/BIG, through Foltz, communicated it was displeased

 with this delay, and demanded additional premium.

          18. If Bankers/BIG/BSSI was displeased with the terms of the contract, they had every

 opportunity, including after oral argument November 5, 2015, to simply walk Howard from the

 courtroom to the jail. Haas would have posted a cash bail through the clerk during business

 hours, and that would have lawfully ended Defendants' bail bond contract and liability to the

 court. However, California and common law provides that when the surety returns the bailee

 prematurely, without fulfilling the terms of the bail contract, the bailee is entitled to a return of

 any premium paid. But that was unacceptable to the RICO scheme of obtaining maximum illegal

 premiums.

          How it did work

          19. The sureties provide bail bond contracts for the bailees that fail to conform to state

 law, and producer contracts with the bail bond agents that because they require the agents to bear

 all risk of financial loss, incentivizes them to hire illegal outside agents. See, AIA contracts

 attached hereto as "Ex. B" and "Ex. C."

          20. Defendants AIA, Allegheny, Fidelity, Bankers, BIG and BSSI created the

 environment that bred these acts by providing Foltz, Holland, and Holland, Inc. with form bail

 bond contracts that authorized this conduct, and AIA, Allegheny, Fidelity, Bankers, BIG and

  BSSI require the bail sales agents, Foltz, Holland, and Holland, Inc. to bear the financial risk of

  forfeiture.

          Defendants Bankers, BIG. BSSI, Foltz. Holland, and Holland, Inc.

          21. Prior to oral argument November 5, 2015, Foltz in California telephoned Haas, the
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  indemnitor in Miami saying the appeal had gone on too long, and the surety needed more money.

  Effectively, he was claiming a renewal premium had to be paid, in violation of the terms of the

  bail bond agreement. Threats were implied. Foltz was in California, and Haas was in Florida.

  It took another year after oral argument to obtain an order on the interlocutory appeal.

         22. On or about November 28th, 2016, Plaintiff Howard was objectively and lawfully at

 his mother's residence in Miami, Florida on Thanksgiving weekend when Bankers/BIG/BSSI's

  documents show Defendants claimed Howard was bailed out of jail in California, and that

  Plaintiffs had supposedly paid for that. On that date Foltz, through the power of attorney with

  Bankers/BIG/B SSI, decided Bankers/BIG would have no more liability for Howard's bail

  contract. Foltz was also doing this as employee/subagent of Holland and Holland, Inc.

         23. On that same date and place, Foltz also decided Bankers/BIG would have no more

  liability for bail contracts belonging to other third parties, including William Carlen (for

  $ 1500 and $2500), also pending in that Superior Court of El Dorado County, California.

         24. Defendants Bankers, BIG and BSSI, through their power of attorney with bail agent

  Foltz, misrepresented to the clerk of the court that it had been a busy Thanksgiving holiday, and

 that Howard and others were in jail. California law is very clear that there are only ten statutorily

  enumerated reasons1 where the clerk of the court has authority to exonerate a bail bond. None

  applied to Howard. The clerk filed papers exonerating Bankers, BIG and BSSI of all liability on

 the bond based upon Foltz's representations, and mailed a copy to Foltz and Bankers.

       25. On that same date and place, nor any future dates, neither Foltz nor Bankers/BIG/BSSI



         !Cal. Penal Code §§§§§§§§ 997,1000.2,1001.27,1001.53, 1008, 1195, 1300, 1305,
  1305.6,1117.

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 provided any Notice of Exoneration to Plaintiffs or their California attorney. This was

 nondisclosure of material information, even in the absence of any patently false statements.

       Defendants AIA, Allegheny, Fidelity, Foltz, Holland, and Holland, Inc.

       26. On that same date of November 28th, 2016, and place, Foltz, through his power of

 attorney with AIA, Allegheny, and Fidelity, placed a fraudulent bail bond and a forged contract

 with AIA, Allegheny, and Fidelity for multiple individuals, including Plaintiff Howard. The clerk

 mailed copies to Foltz and Allegheny. As to the premium, Foltz invested Howard's previously

 paid $ 200 premium from the Bankers/BIG/B SSI contract, added another $ 50 from previous

 instances of racketeering activity, and sent $ 250 to Allegheny for a bail premium on the

  fraudulent bail bond. Allegheny's computer system documented receiving $ 250 in premium

  from Howard on that date. Plaintiffs objectively did not

  ever pay any premium other than the $ 200 required by the Bankers/BIG contract May 4,2014.

       27. When Foltz handed the clerk the new Power of Attorney on the fraudulent bail contract

  and invested the $ 200 proceeds from the wrongfully retained Bankers/BIG premium into the

  operation of the RICO enterprise, Foltz was investing racketeering proceeds to commit more

  racketeering acts, making Plaintiff Howard fund his own extortion.

       28. On that same date and place, nor any future dates, neither Foltz nor AIA, Allegheny, or

  Fidelity provided any Notice of the fraudulent bail bond and forged contract to Plaintiffs or their

  California attorney. This was nondisclosure of material information, even in the absence of any

  patently false statements.

       29. On that same date of November 28th, 2016, and place, Foltz also placed fraudulent bail

  contracts for other third parties, including for William Carlen (for $ 1500 and $2500) that were


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  pending in the Superior Court of El Dorado County, California with Defendants AIA, Allegheny,

  and Fidelity.

        30. On Friday, April 14th, 2017 Foltz in California telephoned Haas in Florida, claiming

  that on February 21, 2017, the judge had raised Howard's bail to $ 25,000, and Foltz was forced

  to pay that premium by the court, so Plaintiffs owed $ 2,500 on that new bail. Further, he claimed

  Plaintiffs owed the full amount on the old November 28, 2016 bail bond. Plus, the interest was

  accruing daily on those amounts, and every day that goes by, Plaintiffs would owe more. He

  communicated that all the legal problems would go away if they just paid the debts. Haas

  objected, and he became irate and threatened, "You're going to pay one way or another, bitch."

  During that same telephone call, at 2:08 P.M.(ET) Haas advised Foltz she was in communication

  with various agencies, including the Department of Justice and the California U. S. Attorney's

  office about the irregularities of the court relating to the Howard matter.

       31. Foltz in California continued to telephone Haas's law office in Florida dozens of times

  that weekend.

       AIA, Allegheny, Fidelity, Whalen, Foltz, Holland, Holland, Inc. and Yousef

       32. Approximately June, 2017, Foltz.sought assistance from Holland and Holland, Inc. on

  the file. Holland/Holland, Inc. obtained names of possible individuals that could help from

  Defendants AIA, Allegheny, and Fidelity. Defendants AIA, Allegheny, and Fidelity participated

  and conspired to send enforcers to Plaintiffs' home/law office to take more aggressive measures

  under the guise of the fraudulent bail bond.

       33. On or about June 26, 2017, using the list of names given by Defendants,

  Holland/Holland, Inc. contacted and retained the enforcer Yousef, to stalk and extort


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  Haas/Howard. Yousef agreed to take $ 350 for the job. Holland/Holland, Inc. furnished him with

  Defendants AIA, Allegheny, and Fidelity forms and documents. Yousef reported back July 7,

  2017 and August, 10, 2017, that he had made multiple trips to the residence, and left two notes.

        34. Approximately June, July, August and September, Yousef scoped out their residence

  and yard, trespassing in a private yard while openly heavily armed and wearing a ballistic vest

  displaying the word "Agent." His visits included shouting and banging on doors and windows.

  His costume and open carry of weapons alarmed Haas/Howard and neighbors. Yousef

  telephoned and left notes in Haas's mailbox with threats and demands, claiming if Haas pays the

  bail bond, then "he [Dominic] will no longer be wanted."

        35. On or about November 13, 2017, in order to collect false debts on forged contracts,

  Yousef, armed and dressed in military garb, forced his way into Plaintiffs' home, destroying the

  lock, assaulted, battered, and threatened Haas down a hallway to her bedroom while aiming a

  Taser and then gun at her. The attack was unsuccessful, and Yousef fled.

        36. On or about November 13, 2017, Yousef videoed this incident without consent and

  published it on the internet. Yousef displays the images of Haas in her home and bedroom in

  apparent advertising on the internet to promote his services, in total disregard of Plaintiff Haas's

  rights and privacy, and her personal rights in and to the use of her image and likeness.

        37. Yousef also published on the internet multiple violent videos, including of himself

  armed and "sport tasing" unsuspecting victims.

        38. Holland/Holland, Inc. subsequently emailed Yousef, telling him he still needed the job

  done, and offered to raise his fee to $ 750 on the fraudulent bail contract.

        39. On or about February 14, 2018, Holland/Holland, Inc. emailed Defendant Whalen


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  saying Yousef s been doing a great job, but he needs more names.

          40. On or about February 15, 2018, Whalen provided the name of Rolando Betencourt.

  Holland/Holland, Inc. was told to introduce himself saying that AIA and Ed Sheppard (another

  Vice-President) said he could help. Rolando Betencourt turned Holland/Holland, Inc. down.

          41. On or about February 21, 2018 internal emails between executive Ed Sheppard and

  Defendant Whalen, show that Rolando Betencourt was unwilling to take the case, because there

  was no record of Howard's bail bond or warrant being listed in the necessary computer system.

          42. On or about May 31st, 2018, following a State of Florida Department of Financial

  Services investigation, Yousef was arrested on four felonies of: a) Bail Bond Agent/No License/

  Appointment (Fla. Stat. § 648.30); b) Trespass/Structure, Conveyance/Dang. Weap. Firearm §

  810.08(2)(c); c) Battery/On Person 65 or Older § 784.08(2)( c); d) Assault/Aggravated/With a

  Firearm § 784.02 l(l)(a); all arising out of his specific conduct and actions of November 13,

  2017.

          43. On or about February 2, 2021, Defendant Yousef posted an over thirty-five minute

  video that has received thousands of views, again showing his version of the video taken

  November 13, 2017, and referring to Plaintiff Haas as an appellate attorney who was breaking the

  law, and Plaintiff Howard, and maligning them and their complaints about him. Yousef again

  displays the images in apparent advertising on the internet to promote his services, in total

  disregard of Plaintiff Haas's rights and privacy, and her personal rights in and to the use of her

  image and likeness.

          44. Defendant Holland and Holland, Inc. a/k/a CHI is regularly or frequently employed by

  or associated with a court of law in respect to is exercise of criminal jurisdiction, or a public law


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  enforcement agency possessing the power of arrest and detention of persons suspected of

  violating the law. For a bail bondsman, this is a prohibited association, and grounds for

  revocation of his bail license per Cal. Code Regs. tit. 10, art. 2, § 2057 Prohibited Associations

  (2013). Florida has a similar prohibition at Fla. Stat § 648.44(2)(c),(f)(2004).

        45. At all times material hereto, Bradley Laird Clark (Clark), was and is a California

  attorney, self-employed as Brad Clark, Attorney at Law, and was the attorney and registered

  agent for Holland and Holland, Inc., a/k/a CHI.

        46. On or about February 21, 2017, records show that that Howard's bail had been risen to

  $25,000 by then Judge Steven C. Bailey, South Lake Tahoe Superior Court of California, County

  of El Dorado.

        47. On or about May 7, 2018, the State of California agency responsible for overseeing

  state judges, The State of California Commission on Judicial Performance (CJP), publicly

  announced an inquiry for numerous charges of judicial misconduct against Judge Bailey.

        48. On or about February 27, 2019, the California agency imposed the harshest penalties

  allowed by the California Constitution, namely, the CJP censured the former Judge, and barred

  him. from ever seeking or holding judicial office with any court in the State of California.

        49. In two weeks of public hearings, the CJP heard testimony on charges of judicial

  misconduct, including the judge funneling defendants to CHI, the private probation service

  provider where the judge's son works; failing to disclose that his son worked on paid

  commission for CHI and made reports to the court; ordering a defendant to pay restitution to CHI

  in violation of the law, based upon a letter from his son; failing to disclose that CHI's owner,

  Holland, was his friend and former client and attended strategy meetings for the judge's judicial


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  campaign; appointing attorney Clark as a special master in a matter pending before the judge

  without disclosing Clark was a personal friend; and receiving gifts and items of significant value

  from Clark.

                                   &&&&•&'&&•&&&&&&&'&&&'&■&&'&&&&&&'&&&


              COUNT I - RICO S 1962 (c) - ALL DEFENDANTS - PATTERN OF
                             RACKETEERING ACTIVITY

         Plaintiffs re-allege and adopt ^flf 1- 49, and further state:

         50. At all times relevant, Defendants Allegheny, Fidelity, AIA, Bankers, BIG, BSSI,

  Foltz, Holland, Holland, Inc., Whalen, and Yousef, a union and/or a group of individuals

  associated in fact, although not a legal entity, for the common purpose to illegally retain or extort

  bail premium. All acted in concert to make their cut of the premium or bond. It is a lawful

  purpose carried out through fraudulent means. The activities of the enterprise affect interstate and

  foreign commerce.

         51. Culpable persons are Defendants AIA, Allegheny, Fidelity, Bankers, BIG, and BSSI,

  all legitimate businesses used for an improper purpose, and individuals such as Whalen with

  some part in directing the enterprise's affairs; Defendant Holland, Inc. operates through Holland,

  at the managerial or supervisory level with some part in directing the enterprise's affairs. Foltz

  also has some part in directing the enterprise's affairs. Yousef assists the enterprise.

         52. All entities function as a continuing unit. The relationships among those associated

  with the enterprise has a hierarchical structure, flowing from Defendants AIA, Allegheny,

  Fidelity, Bankers, BIG, and BSSI at the top, to Foltz, Holland, and Holland, Inc., then to Yousef

  and other unnamed enforcers. At the top, Allegheny and Fidelity, Bankers, BIG and BSSI



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  underwrite the bail bonds, but rely on local bond agents with power of attorneys to secure clients.

  AIA closely monitors and controls Defendants Foltz, Holland, and Holland, Inc., who deal

  directly with Yousef and other unnamed enforcers. The individuals do not act independently and

  without coordination.

          53. At all times relevant, in furtherance of the criminal enterprise, Defendants knowingly

  and purposely used: interstate wire in violation of 18 U.S.C. § 1343 and interstate mail in

  violation of 18 U.S.C. § 1341; committed extortionate credit transaction in violation of 18 USC §

  891 and collection of extension of credit by extortionate means in violation of U.S.C. § 893, and

  interference with commerce by threats or violence in violation of 18 USCA § 1951; and

  tampering with a witness, victim, or an informant in violation of 18 USCA 1512(2). These

  constitute racketeering activity in violation of 18 U.S.C. § 1962 (c). Said violations occurred as a

  result of Defendants' use of mail and the telephone lines in connection with mailing, faxing and

  making telephone calls in connection with illegally retaining or extorting bail premiums through

  the use of fabricated documentation and non-existent contracts. The predicate acts are related

  both to each other (horizontal relatedness), and to the enterprise as a whole (vertical relatedness).

  The predicate acts are a regular way of conducting an ongoing legitimate business, and can be

  attributed to Defendants operating as part of a long-term association that exists for criminal

  purposes.

          54. The Defendants have engaged in more than two acts of racketeering and therefore

  engaged in a pattern of racketeering activity as defined in 18 U.S.C. § 1961. Moreover, through

  the acts set forth herein, the Defendants conducted or participated in, directly or indirectly, the

  conduct of the enterprise's affairs through a "pattern of racketeering activity" within the meaning


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  of 18 U.S.C. §1961(5).

          55. As a direct and proximate result of Defendants' racketeering activities and violations

  of 18 U.S.C. § 1962(c), Plaintiffs have been, and continue to be, injured in their business and

  property, including, without limitation, the loss of hundreds of thousands of dollars, by reason of

  the violation of 18 U.S.C. § 1962(c) by Defendants.

         WHEREFORE, Plaintiffs prays for judgment against each Defendant for:

         a. Compensatory damages according to proof at trial, trebled according to statute, 18

                 U.S.C. § 1964(c);

         b. Prejudgment interest according to statute; and

         c. Plaintiffs' reasonable attorneys' fees and costs according to statute, 18 U.S.C.

                 § 1964(c).

         d. Punitive damages; and

         e. That the Court orders such other relief as it deems just and appropriate.

            COUNT II - RICO S 1962 (c) - COLLECTION OF UNLAWFUL DEBT

         Plaintiffs re-allege and adopt fflf 1- 49, and further state:

         56. At all times relevant, Defendants Allegheny, Fidelity, ALA , Bankers, BIG, and BSSI,

  Foltz, Holland, Holland, Inc., Whalen, and Yousef, a union and/or a group of individuals

  associated in fact, although not a legal entity, for the common purpose to illegally retain or extort

  bail premium. All acted in concert to make their cut of the premium or bond. It is a lawful

  purpose carried out through fraudulent means. The association is open-ended and poses a threat

  of continuity. The activities of the enterprise affect interstate and foreign commerce.

         57. Culpable persons are Defendants AIA, Allegheny, Fidelity, Bankers, BIG, and BSSI,


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   all legitimate businesses used for an improper purpose, and individuals such as Whalen with

   some part in directing the enterprise's affairs; Defendant Holland, Inc. operates through Holland,

   at the managerial or supervisory level with some part in directing the enterprise's affairs. Foltz

  also has some part in directing the enterprise's affairs. Yousef assists the enterprise.

          58. All entities function as a continuing unit. The relationships among those associated

  with the enterprise has a hierarchical structure, flowing from Defendants AIA, Allegheny,

  Fidelity, Bankers, BIG, and BSSI at the top, to Foltz, Holland, and Holland, Inc., then to Yousef

  and other unnamed enforcers. At the top, Allegheny and Fidelity, and Bankers, BIG and BSSI

  underwrite the bail bonds, but rely on local bond agents with power of attorneys to secure clients.

  AIA closely monitors and controls the Defendants Foltz, Holland, and Holland, Inc., who deal

  directly with Yousef and other unnamed enforcers. The individuals do not act independently and

  without coordination.

          59. Upon information and belief, in furtherance of the criminal enterprise, the Defendants

  knowingly and purposely engaged in the collection of unlawful debt. These acts constitute

  racketeering activity in violation of 18 U.S.C. § 1962 (c). Said violations occurred as a result of

  Defendants' use of mail and the telephone lines in connection with mailing, faxing and making

  telephone calls in connection with illegally retaining or extorting bail premiums through the use

  of fabricated documentation and non-existent contracts. The collection of unlawful debt is related

  both to each other (horizontal relatedness), and to the enterprise as a whole (vertical relatedness).

  The collection of unlawful debt is a regular way of conducting an ongoing legitimate business,

  and can be attributed to Defendants operating as part of a long-term association that exists for

  criminal purposes.


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         60. The Defendants have engaged in more than two acts of racketeering and therefore

  engaged in a pattern of racketeering activity as defined in 18 U.S.C. § 1961. Moreover, through

  the acts set forth herein, the Defendants conducted or participated in, directly or indirectly, the

  conduct of the enterprise's affairs through collection of "unlawful debt" within the meaning of 18

  U.S.C. § 1961(6).

         61. As a direct and proximate result of Defendants' racketeering activities and violations

  of 18 U.S.C. § 1962(c), Plaintiffs have been, and continue to be, injured in their business and

  property, including, without limitation, the loss of hundreds of thousands of dollars, by reason of

  the violation of 18 U.S.C. § 1962(c) by Defendants.

         WHEREFORE, Plaintiffs prays for judgment against each Defendant for:

         a. Compensatory damages according to proof at trial, trebled according to statute, 18

                 U.S.C. § 1964(c);

         b. Prejudgment interest according to statute; and

         c. Plaintiffs' reasonable attorneys' fees and costs according to statute, 18 U.S.C.

                 § 1964(c).

         d. Punitive damages; and

         e. That the Court orders such other relief as it deems just and appropriate.

     COUNT III - RICO § 1962 fa) - INVESTMENT OF INCOME DERIVED FROM A
                     PATTERN OF RACKETEERING ACTIVITY

         Plaintiffs re-allege and adopt fflf 1- 49, and further state:

         62. At all times relevant, Defendants Allegheny, Fidelity, AIA , Bankers, BIG, BSSI,

  Foltz, Holland, Holland, Inc., Whalen, and Yousef, a union and/or a group of individuals



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  associated in fact, although not a legal entity, for the common purpose to illegally retain or extort

  bail premium. All acted in concert to make their cut of the premium or bond. It is a lawful

  purpose carried out through fraudulent means. The association is open-ended and poses a threat

  of continuity. The activities of the enterprise affect interstate and foreign commerce.

          63. Culpable persons are Defendants AIA, Allegheny, Fidelity, Bankers, BIG, and BSSI,

  all legitimate businesses used for an improper purpose, and individuals such as Whalen with

  some part in directing the enterprise's affairs; Defendant Holland, Inc. operates through Holland,

  at the managerial or supervisory level with some part in directing the enterprise's affairs. Foltz

  also has some part in directing the enterprise's affairs. Yousef assists the enterprise.

          64. All entities function as a continuing unit. The relationships among those associated

  with the enterprise has a hierarchical structure, flowing from Defendants AIA, Allegheny,

  Fidelity, Bankers, BIG and BSSI at the top, to Foltz, Holland, and Holland, Inc., then to Yousef

  and other unnamed enforcers. At the top, Allegheny and Fidelity, and Bankers, BIG and BSSI

  underwrite the bail bonds, but rely on local bond agents with power of attorneys to secure clients.

  AIA closely monitors and controls the Defendants Foltz, Holland, and Holland, Inc., who deal

  directly with Yousef and other unnamed enforcers. The individuals do not act independently and

  without coordination.

         65. Defendants knowingly and purposely invested any income derived, directly or

  indirectly, from a pattern of racketeering income back into the enterprise. These acts constitute

  racketeering activity in violation of 18 U.S.C. § 1962 (a). Said violations occurred as a result of

  Defendants' use of mail and the telephone lines in connection with mailing, faxing and making

  telephone calls in connection with illegally retaining or extorting bail premiums through the use


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   of fabricated documentation and non-existent contracts. The predicate acts are related both to

   each other (horizontal relatedness), and to the enterprise as a whole (vertical relatedness). The

  predicate acts are a regular way of conducting an ongoing legitimate business, and can be

  attributed to Defendants operating as part of a long-term association that exists for criminal

  purposes.

          66. The Defendants have engaged in more than two acts of racketeering and therefore

  engaged in a pattern of racketeering activity as defined in 18 U.S.C. § 1961. Moreover, through

  the acts set forth herein, the Defendants conducted or participated in, directly or indirectly, the

  conduct of the enterprise's affairs through a "pattern of racketeering activity" within the meaning

  of 18 U.S.C. §1961(5).

          67. As a direct and proximate result of Defendants' racketeering activities and violations

  of 18 U.S.C. § 1962(c), Plaintiffs have been, and continue to be, injured in their business and

  property, including, without limitation, the loss of hundreds of thousands of dollars, by reason of

  the violation of 18 U.S.C. § 1962(c) by Defendants.

          WHEREFORE, Plaintiffs prays for judgment against each Defendant for:

         a. Compensatory damages according to proof at trial, trebled according to statute, 18

                 U.S.C. § 1964(c);

         b. Prejudgment interest according to statute; and

         c. Plaintiffs' reasonable attorneys' fees and costs according to statute, 18 U.S.C.

                 § 1964(c).

         d. Punitive damages; and

         e. That the Court orders such other relief as it deems just and appropriate.


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        COUNT IV - RICO S 1962 (a) - INVESTMENT OF INCOME DERIVED FROM
                        COLLECTION OF UNLAWFUL DEBT

          Plaintiffs re-allege and adopt fflf 1- 49, and further state:

          68. At all times relevant, Defendants Allegheny, Fidelity, AIA , Bankers, BIG, and BSSI,

   Foltz, Holland, Holland, Inc., Whalen, and Yousef, a union and/or a group of individuals

  associated in fact, although not a legal entity, for the common purpose to illegally retain or extort

  bail premium. All acted in concert to make their cut of the premium or bond. It is a lawful

  purpose carried out through fraudulent means. The association is open-ended and poses a threat

  of continuity. The activities of the enterprise affect interstate and foreign commerce.

          69. Culpable persons are Defendants AIA, Allegheny, Fidelity and Bankers, BIG, and

  BSSI, all legitimate businesses used for an improper purpose, and individuals such as Whalen

  with some part in directing the enterprise's affairs; Defendant Holland, Inc. operates through

  Holland, at the managerial or supervisory level with some part in directing the enterprise's

  affairs. Foltz also has some part in directing the enterprise's affairs. Yousef assists the enterprise.

         70. All entities function as a continuing unit. The relationships among those associated

  with the enterprise has a hierarchical structure, flowing from Defendants AIA, Allegheny,

  Fidelity and Bankers, BIG, and BSSI at the top, to Foltz, Holland, and Holland, Inc., then to

  Yousef and other unnamed enforcers. At the top, Allegheny and Fidelity, and Bankers, BIG and

  BSSI underwrite the bail bonds, but rely on local bond agents with power of attorneys to secure

  clients. AIA closely monitors and controls Defendants Foltz, Holland, and Holland, Inc., who

  deal directly with Yousef and other unnamed enforcers. The individuals do not act independently

  and without coordination.



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          71. Upon information and belief, in furtherance of the criminal enterprise, the Defendants

  knowingly and purposely engaged in the collection of unlawful debt. These acts constitute

  racketeering activity in violation of 18 U.S.C. § 1962 (c). Said violations occurred as a result of

  Defendants' use of mail and the telephone lines in connection with mailing, faxing and making

  telephone calls in connection with illegally retaining or extorting bail premiums through the use

  of fabricated documentation and non-existent contracts. The collection of unlawful debt is related

  both to each other (horizontal relatedness), and to the enterprise as a whole (vertical relatedness).

  The collection of unlawful debt is a regular way of conducting an ongoing legitimate business,

  and can be attributed to Defendants operating as part of a long-term association that exists for

  criminal purposes.

         72. Defendants knowingly and purposely invested any income derived, directly or

  indirectly, from a pattern of racketeering income back into the enterprise. These acts constitute

  racketeering activity in violation of 18 U.S.C. § 1962 (a). Said violations occurred as a result of

  Defendants' use of mail and the telephone lines in connection with mailing, faxing and making

  telephone calls in connection with illegally retaining or extorting bail premiums through the use

  of fabricated documentation and non-existent contracts.

         73. The Defendants have engaged in more than two acts of racketeering and therefore

  engaged in a pattern of racketeering activity as defined in 18 U.S.C. § 1961. Moreover, through

  the acts set forth herein, the Defendants conducted or participated in, directly or indirectly, the

  conduct of the enterprise's affairs through collection of "unlawful debt" within the meaning of 18

  U.S.C. § 1961(6).

         74. As a direct and proximate result of Defendants' racketeering activities and violations


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  of 18 U.S.C. § 1962(c), Plaintiffs have been, and continue to be, injured in their business and

  property, including, without limitation, the loss of hundreds of thousands of dollars, by reason of

  the violation of 18 U.S.C. § 1962(c) by Defendants.

          WHEREFORE, Plaintiffs prays for judgment against each Defendant for:

          a. Compensatory damages according to proof at trial, trebled according to statute, 18

                  U.S.C. § 1964(c);

          b. Prejudgment interest according to statute; and

          c. Plaintiffs' reasonable attorneys' fees and costs according to statute, 18 U.S.C.

                  § 1964(c).

         d. Punitive damages; and

         e. That the Court orders such other relief as it deems just and appropriate.

     COUNT V - RICO § 1962(d) - ALL DEFENDANTS - CONSPIRACY TO VIOLATE
                    PROVISIONS OF RICO S 1962 (a) and/or (c)

           Plaintiffs re-allege and adopt ffif 1- 49, and further state:

         75. At all times relevant, Defendants Allegheny, Fidelity, AIA , Bankers, BIG, and BSSI,

  Foltz, Holland, Holland, Inc., Whalen, and Yousef, a union and/or a group of individuals

  associated in fact, although not a legal entity, for the common purpose to illegally retain or extort

  bail premium. All acted in concert to make their cut of the premium or bond. It is a lawful

  purpose carried out through fraudulent means. The association is open-ended and poses a threat

  of continuity. The activities of the enterprise affect interstate and foreign commerce.

         76. Culpable persons are Defendants AIA, Allegheny, Fidelity and Bankers, BIG, and

  BSSI, all legitimate businesses used for an improper purpose, and individuals such as Whalen



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  with some part in directing the enterprise's affairs; Defendant Holland, Inc. operates through

  Holland, at the managerial or supervisory level with some part in directing the enterprise's

  affairs. Foltz also has some part in directing the enterprise's affairs. Yousef assists the enterprise.

          77. All entities function as a continuing unit. The relationships among those associated

  with the enterprise has a hierarchical structure, flowing from Defendants AIA, Allegheny,

  Fidelity and Bankers, BIG, and BSSI at the top, to Foltz, Holland, and Holland, Inc., then to

  Yousef and other unnamed enforcers. At the top, Allegheny and Fidelity, and Bankers, BIG, and

  BSSI underwrite the bail bonds, but rely on local bond agents with power of attorneys to secure

  clients. AIA closely monitors and controls the Defendants Foltz, Holland, and Holland, Inc., who

  deal directly with Yousef and other unnamed enforcers. The individuals do not act independently

  and without coordination.

          78. Upon information and belief, in furtherance of the criminal enterprise, the Defendants

  knowingly and purposely agreed to participate in an endeavor, that, if completed, would

  constitute a RICO violation. Each Defendant adopted the goal of furthering or facilitating the

  conspiracy. Agreement to the pattern of predicate acts and collection of unlawful debt is related

  both to each other (horizontal relatedness), and to the enterprise as a whole (vertical relatedness).

  Agreement to the pattern of predicate acts and collection of unlawful debt is a regular way of

  conducting an ongoing legitimate business, and can be attributed to Defendants operating as part

  of a long-term association that exists for criminal purposes.

         79. Two or more members of the conspiracy agreed to commit a substantive RICO

  offense, and the named Defendants knew of and agreed to the overall objective of the RICO

  offense.


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         80. A member of the conspiracy committed an overt act that constituted a predicate act

  of racketeering to further the conspiracy.

         81. Moreover, through the acts set forth herein, the Defendants conducted or participated

  in, directly or indirectly, the conduct of the enterprise's affairs through a "pattern of racketeering

  activity" or through collection of "unlawful debt" within the meaning of 18 U.S.C. § 1961(5),

  (6).

         82. As a direct and proximate result of Defendants' racketeering activities and violations

  of 18 U.S.C. § 1962(c), Plaintiffs have been, and continue to be, injured in their business and

  property, including, without limitation, the loss of hundreds of thousands of dollars, by reason of

  the violation of 18 U.S.C. § 1962(c) by Defendants.

         WHEREFORE, Plaintiffs prays for judgment against each Defendant for:

         a. Compensatory damages according to proof at trial, trebled according to statute, 18

                 U.S.C. § 1964(c);

         b. Prejudgment interest according to statute; and

         c. Plaintiffs' reasonable attorneys' fees and costs according to statute, 18 U.S.C.

                 § 1964(c).

         d. Punitive damages; and

         e. That the Court orders such other relief as it deems just and appropriate.

                                    DEMAND FOR JURY TRIAL

         Plaintiffs demand a trial by jury of all issues triable as a right by jury

  Dated this 13th day of November, 2021.




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                                            By: /s/Karen J. Haas, Esq.
                                            KAREN J. Haas, ESQ.
                                            Plaintiff, Pro Se and Counsel for Howard
                                            LAW OFFICES OF KAREN J. Haas
                                            13805 S.W. 83rd Court
                                            Miami, Florida 33158-1027
                                            TEL: (305) 255-4833
                                            FAX: (305) 255-4834
                                            E-MAIL: KJHLaw@gmail.com




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                                                                      FOLTZ.00006

                                     Ex. A
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                                                                     FOLTZ.00004
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                                                                                                              PROOUCERNAME, ADDRESS, PHONE AND PRODUCER LICENSE NUMBER MUST BE PREPRINTED OR STAMPED HERE:
                 INTERNATI ONAL FIDELITY
>-
z                  INSURANCE COMPANY                                                              w
<(
                                                                                                  u
a.                                                                                                :::>
                                    C
:ii:     ALLEGHENY CASUALTY COMPANY 0
0
u             P.O. BOX 9810, CALABASAS, CA 91372-9810                                             c..
                     TELEP HONE (800) 935-2245

        BAIL BOND AGREEMEN T ("Agreement") - THIS IS A DOUBLE SIDED DOCUMENT; READ ALL SIDES CAREFULLY
   In consideration of l NTERNATIONAL FIDELITY lNSURAN CE COMPANY/ALL EGHENY CASUALTY COMPANY, as applicable,
   ("Surety"), through that Surety's duly appointed independent bail producer ("Bail Producer'') (Surety and Bail Producer are
   sometimes together referred to as "Surety"), issuing, or causing to be issued, a criminal appearance bail bond described as:
       Date                                                Defendant

       lndemnitor(s)                                                                                                                                 Total Premium $

       Power Number(s)                                                                                                  Total Bond Amount$                                                        ("Bond")

     I/we represent and warrant that I/we have read , approve and agree to all of the terms and conditions found on following pages
     (front and back) .
       Signed, sealed and delivered this
         Defendant                                                                                                lndemnitor

               Sign                                                                                                      Sign


               Print                                                                                                     Print


         lndemnitor                                                                                               lndemnitor
               Sign                                                                                                      Sign


                Print                                                                                                       Print


         lndemnitor                                                                                               lndemnitor

                Sign                                                                                                        Sign


                Print                                                                                                       Print


       Statement of Information Required by Section 2100, California Regulatory Code, and Which May Be Required in Other States
       FULL NAME OF PERSON SUPPLYING INFORMATION                                NAME OF PERSON NEGOTIATING BAIL                                    NAME OF PERSON RECEIVING INFORMATION



       ADDRESS (STREET, CITY, STATE, ZIP)                                       ADDRESS (STREET, CITY, STATE, ZIP)                                 DATE AND TIME INFORMATION RECEIVED



       CONNECTION OR RELATIONSHIP TO DEFENDANT                                  CONNECTION OR RELATIONSHIP TO DEFENDANT                            MANNER IN WHICH INFORMATION RECEIVED



       IF SAME WAS DEFENDANT, HOW DID HE COMMUNICATE?                           NAME OF LICENSEE WHO NEGOTIATED TRANSACTION                        NAME OF OTHER AGENTS INVOLVED & COMMISSION PAID



       IF WRIT, NAME OF ATTORNEY                                                NAME AND SUM PAID UNLICENSED PERSONS AND SERVICES PERFORMED



       Was consideration other than money received?                                   • Yes •            No    If yes, explain in detai l and attach statement

       Translation Request - Solicitud de traducci6n.                                          D Check box and complete the following if translation is required
       Si no puede leer ni entender Ingles, favor de marcar este cuadro. (If you cannot read or understand English, please check this box.)
       The undersigned translator makes this affidavit and hereby certifies, under penalty of perjury, that he/she read verbatim and translated
       this entire document, including the reverse side, and all related bond application documents including disclosures, promissory notes,
       security instruments and trust deeds, to the lndemnitor signing below in his/her primary language.
       Translator (signature)                                                                                               (print name)

       Translator's Address                                                                                                                                            Date
                                                                           Street                                    Clly                  State            Zip

       Confirmo por mi colocaci6n de mis iniciales que las dos caras de este acuerdo han sido traducidos completamente a mi
       satisfacci6n. (I confirm by my affixing my initials that this contract has been translated to my satisfaction)
        INDEMNITOR Initials                                                         READ ALL TERMS AND CONDITIONS ON THE FRONT AND BACK OF EACH PAGE


 Form# AIA.CA.0307 (09/14)                  IIll~lllll llll1~111111111111111
                                             ,,,. 0 8 4 1 5 *
                                                                                                         Page 1 of 4                                                                            AIA
                                                                                                                                                                                                EMPOWERING AGENTS




                                                                                                    Ex. B                                                                               ACC0064
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 Terms And Conditions

 You, the undersigned (referred to herein as "lndemnitor," "Defendant," or together as "you," as applicable), agree to be bound to the
 following terms and conditions:
 1. The premium for the Bond is fully earned upon Defendant's release from custody. The premium is not refundable except as stated
 herein.The fact that Defendant may have been improperly arrested, the bail was reduced or Defendant's case was dismissed shall not
 obligate the return of any portion of the premium.
 2. Defendant agrees to appear in any Court required in connection with the Bond at the times stated in the Bond and all other times as
 may be ordered by the Court. lndemnitor will have Defendant appear in any Court as required in connection with the Bond.
 3. Surety shall have control and jurisdiction over the Defendant during the term for which the Bond is in effect and shall have the right
 to apprehend, arrest and surrender the Defendant to the proper officials at any time as provided by law. In the event Defendant's
 surrender is made prior to Defendant's failure to appear in court, and for a reason other than as stated in paragraph 4, then you may
 be entitled to a refund of the bond premium if required by applicable law (if any) and as stated in the Supplemental Terms and
 Conditions.
 4. Unless otherwise provided by applicable law (if any) and as stated in the Supplemental Terms and Conditions, the following events
 shall constitute a breach of your obligations to the Surety, and the Surety shall have the right to immediately apprehend, arrest and
  surrender Defendant, and you shall have no right to any refund of premium whatsoever: (a) Defendant departs the jurisdiction of the
  Court without the prior written consent of the Court and the Surety; (b) Defendant moves from his/her current address without prior
 written consent of the Surety, or Defendant fails to notify Surety of change in address; (c) Defendant commits any act that constitutes
 reasonable evidence of Defendant's intention to cause a forfeiture of the Bond; (d) Defendant is arrested and incarcerated for any
 other offense (other than a minor traffic violation); (e) Defendant or lndemnitor makes any materially false statement in the any
  application submitted to Surety for the bond, including the Bail Bond Application and lndemnitor Application ("Applications"); (f)
  Defendant or lndemnitor makes any materially false statement in the Applications; (g) Defendant's bail is increased; (h) lndemnitor
  requests that Defendant be surrendered; (i) there is a material increase in the risk assumed by the Surety (as determined by the Surety
  in its sole and absolute discretion) including, by way of example, but not limited to, depreciation or impairment of any real or personal
  property deposited as security for the Bond ("Collateral," as defined herein).
  5. In the event Defendant's apprehension and surrender is required for any reason, including Defendant's failure to appear at any of
  Defendant's required Court proceedings or hearings, Defendant understands, acknowledges, assumes and accepts that Defendant's
 failure to appear and resulting apprehension to custody is an activity that poses a peculiar risk of harm both to the Defendant and to
  others, including any recovery agent(s), which is beyond and differs from the risks to which members of the public are commonly and
  generally subjected. Defendant acknowledges and agrees that if Defendant becomes subject to such apprehension and surrender,
  Defendant is voluntarily participating in the activity of apprehension and recovery such that the risk of harm of such activity is not
  peculiar to Defendant. Defendant acknowledges and understands the peculiar risk of such activity and Defendant is no longer a
  member of the general public who cannot anticipate such risk. Defendant knowingly accepts and assumes the subsequent risk of harm
  to Defendant and others arising out of such apprehension and surrender activities. Defendant agrees to defend, indemnify, and hold
  harmless the Surety and/or Bail Producer (including all agents, representatives and employees thereof) for any injuries, harm, losses,
  claims, lawsuits, damages, losses, liability, demands, actions, fees and expenses (including attorneys fees and costs) arising out of
  such activities.
  6. You shall indemnify the Surety and keep the Surety indemnified and hold it harmless from and against any and all claims, lawsuits,
  damages, losses, liability, demands, actions, fees and expenses (including attorneys fees and costs) (together, "Liabilities"), relating to,
  or arising out of, Surety's issuance or procurement of the Bond, including, but not limited to, the following: (a) the principal amount of
  any forfeiture of, or judgment on, the Bond, plus any related court costs, interest and legal fees incurred, (b) any fugitive recovery fee if
  there is a forfeiture of the Bond (which fee is typically ten percent [10%], of the amount of the Bond for an in-state recovery), plus any
  out of pocket expenses, (c) any and all extradition costs that may be incurred to apprehend and return Defendant to custody, and (d) if
   a collection action is required under this Agreement, reasonable and actual attorneys fees plus any and other costs, expenses and/or
   assessments that may be incurred as a result thereof and of any forfeiture of the Bond subject to applicable law (if any) as stated in the
  Supplemental Terms and Conditions below. The voucher, check or other evidence of any payment made by Surety shall be conclusive
   evidence of such payment in any action against you both as to the propriety of such payment and as to the extent of your liability to
   Surety for such payment. Further, you will, upon demand, place with Surety the requisite funds to meet any such Liabilities, whether
  that demand is made before or after Surety has paid or advanced such funds.
   7. Subject to applicable law (if any), and as stated in the Supplemental Terms and Conditions, any real or personal property deposited
   as security, including cash, for the Bond and this Agreement ("Collateral") is held for the payment of any and all monies and sums due
   to Surety, including all Liabilities, sustained, made or incurred by Surety on account of, arising out of or relating to the Bond, this
   Agreement, and the transactions contemplated thereby (including all the items referenced in paragraph 6, above). Your failure to
   comply with any of terms and conditions of this Agreement, and any and all debt or other obligations arising out of or evidenced by any
   agreement executed by you or any other indemnitor for the benefit of Surety, may result in the following: If you grant the Surety a lien
   or a security interesrin any Collateral to secure the obligations contained in this Agreement, including without limitation the Liabilities,
   and if you do not perform such obligations, you authorize the Surety to (a) hold, apply or sell any Collateral, or any part thereof to
   reimburse the Surety for any and all Liabilities of any kind or nature and to protect or reimburse the Surety by reason of the execution
   at any time of the Bond or any other bond for or on behalf of Defendant, and (b) hold, apply or sell the Collateral for the purpose of
   placing the Surety in cash funds to protect the Surety against Liabilities, including any claim, demand, loss or liability under the Bond or
   any other bond executed on Defendant's behalf. Subject to applicable law (if any), and as stated in the Supplemental Terms and
   Conditions, the Surety may make any such sale, at its discretion, at public or private sales, and without demand, notice or
   advertisement of the time and place of said sale, and also with the right to purchase said Collateral at such sale or sales, freed and
   discharged from any equity or redemption, except as otherwise provided by applicable law.
   8. The Surety shall not be liable for the depreciation of any Collateral or for any interest thereon. In the event of depreciation of the
   Collateral, or any part thereof, or of any Collateral which may be hereafter deposited with the Surety, upon request of the Surety, you
   shall provide the Surety with additional and satisfactory Collateral so that the total market value of the Collateral shall, at all times, be
   equal to the market value of the Collateral at the time of its initial deposit. Subject to applicable law (if any), and as stated in the
   Supplemental Terms and Conditions, if you fail to deposit such additional Collateral, the Surety shall have the full right, power and
   authority, without further demand or notice, to sell, assign and deliver the whole or any part of such Collateral, including any substituted
   or additional Collateral, at public or private sale, at its option, and without demand, notice or advertisement, and also with the right to
   purchase said Collateral at any such sale, freed and discharged from any equity or redemption as provided by applicable law.


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                                                                                                                                    EMPOWERING AGENTS




                                                                Ex. B                                                         ACC0065
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Terms And Conditions                      (Continued from Page 2)

                                                                                                                                           Surety shall have the right to enter, record and file
 9. If a confession of judgment is taken in connection with security for the Bond, the
                    at  any   time,  and    such    judgment        shall     be   a    lien    and     entitled       to   a  preference             against any of your property, whether or not
 the judgment
                                                        d   at  the     time     of   the    entry,        recording         or    filing     of    such     judgment. If such judgment is entered,
 the Surety is entitled to be indemnifie
                                                                                                         shall     be     effective        and     available       to the Surety against you not only in
 recorded or filed by the Surety against you, the judgment entered
                        the  Bond    and    this  Agreemen        t  but    also    in    connection            with    any     other       bond       that   may have been written by the Surety in
 connection with
 which you are either the indemnitor or a defendant.
                                                                                                                                         the liens and security interests arising out of the
  10. You acknowledge and agree that the Surety may foreclose any or all of
                                                                                                                          its   rights       or remedies under this Agreement, or take any
 transactions relating to the Bond or this Agreement, or exercise any of
                                          without    waiving      any      other     right     or   remedy.          Failure      to    exercise         any rights or remedies of the Surety at any
  combination of such actions,
                                                                               to   exercise          them        at   any     other       time.       Any    security or Collateral you give may be
  one time shall not constitute a waiver of the right
                                                                                                                                    rights.      The     Surety      shall not be obligated to enforce its
  substituted, subordinated, or released by the Surety without affecting any other
                                                      or   indemnitor        prior     to  enforcing           its  rights     against        you      or  any   other     indemnitor.
  rights against any security, Collateral
                                                                                                                                    and Conditions, the Surety will return the Collateral to
  11. Subject to applicable law (if any), and as stated in the Supplemental Terms
                                                                                              receives           competen         t   written legal evidence satisfactory to the Surety (for
  you when all of the following are satisfied: (a) the Surety
                written    notice   from     the   Court)     of    the     Surety's         discharge            or   release          from all liability under the Bond; (b) there are no
  example,
                                                             out    of   or  relating       to    the    Bond       or   this   Agreemen             t; (c) there are no other outstanding bonds or
  outstanding Liabilities of any kind arising
                                                                                                                         with    which        the     Surety may deem it advisable to retain such
  obligations executed by, for or on behalf of the Defendant in connection
                         protection;    and    (d)  upon     the    Surety's       request,         you      shall     have      executed            and    delivered to the Surety a general release
  Collateral for its
                                                                     you.     If the      Surety        deems         it  necessary            to    make      any outlay to protect any Collateral or
  upon the Surety's return of the Collateral to
                                                                                                                                     the     Surety       to  do    so, and you agree to indemnify and
  security in its possession, whether for real or personal property, you authorize
                                 for  any    such    outlay     as     in  the    judgment            of    the    Surety        may       be     necessary          to protect its Collateral or security,
  reimburse the Surety
                                                                           and    any      attorneys          fees,      costs     and      service       fees    for   time spent and/or special services
  including payment of taxes or liens or mortgages
  rendered.
                                                                                                                                       its rights and obligations in this Agreement, and/or in
   12. The Surety shall have the right to transfer and/or assign, in whole or in part,
                                                or   any     other      person       or    entity       ("Assignee         ")   without          notice to or consent from you. Subject to any
  the Bond, to the Bail Producer
                                                                                                 shall     have      the    right    to    enforce        in any suit, foreclosure, action, proceeding
   limitations imposed upon Assignee by the Surety, Assignee
                    any    of  the  Surety's     rights     herein      or  arising       out     of   any      of   the    transaction          s contemplated hereby, and you shall not, and
  or otherwise
                                                                                                                                    not have the right to enforce such rights in any such
   expressly waive any right to, assert the claim or defense that Assignee does
                                                                                                            has    been       made        for the Defendant, then this Agreement shall extend
   action, proceeding or otherwise. If more than one bond is made or
                    all those    bonds     and  the   terms     of   this   Agreemen            t shall     apply     to   each       bond       individually or as a group.
   to and cover
                                                                                                                                                  has recommended or suggested any specific
   13. You hereby acknowledge and agree that neither the Surety nor Bail Producer
   attorney or firm of attorneys to represent the Defendant                            in  any     capacity.
                                                                                                                                        n and termination of this Agreement, including any
    14. This Agreement may not be terminated or modified orally. Any modificatio
   release    of liability hereunder     ,  must   be   in  writing      and    signed       by    the     Surety       and    you.
                                                                                                                                      any and all rights you may have under federal law
    15. To the maximum extent permitted by applicable law, you hereby waive
                                                         Privacy       Act-Freed         om     of   Informatio        n   Act    and       Title 6, Fair Credit Reporting Act) and any local or
    (including, but not limited to, Title 28,
                                                                                                                      Surety        to    obtain,       any and all private or public information and/
   state law relating to Surety obtaining, and you consent to and authorize
                                  you  from    any   party    or  agency,         private        or  governme          ntal    (local,       state     or  federal), including, but not limited to, credit
    or records concerning
                                                                 records,         civil    records,          driving       records,          tax     records,       telephone records, medical records,
    reports, Social Security Records, criminal
                                                                                                                              You        further       authorize,        without reservation, any party or
    school records, worker compensation records, and employment records.
                            governme       ntal  (local,    state     or  federal)        contacted           by   Surety       to    furnish       to   Surety      or Bail Producer, in accordance with
    agency, private or
                                                                                                                                                  n concerning you to the Surety and direct that a
    applicable law, any and all private and public information and records in their possessio
                                                                                                                                                      grant to Surety and Bail Producer, and their
    copy of this document shall serve as evidence of said authorization. You irrevocably
                                           the  right  to   enter     your    residence,           or   any      other     property        that     you    own or occupy, without notice, at any time,
    agents and representatives,
                                                                                      Defendan           t to    custody,       and       subject       to  applicable law, you waive and release any
    for the purpose of locating, arresting, and returning the
                                                                                                                                        of  trespass        and false imprisonment.
    and all causes of action in connection therewith including, without limitation, torts
                                                                                                                                          vehicle       owned       or driven by Defendant, at any time,
     16. Defendant agrees that Surety may attach a location tracking device on any
                                                             of the    vehicle      through         any      available        technology           .  Defendan        t further agrees that Surety may use
    without notice, and monitor the location
                                                                                                                time     during       the     period       of  the    Bond     is in force and any applicable
     location technologies to locate Defendant's wireless device at any
                          period,   and   the   Bond     is  conditione      d   upon      your       full   complianc         e  with      the    following terms and conditions: (a) Surety, at its
     Bond remission
                                                                                                                                         lndemnitor; (b) this is the only notice you will receive
     discretion, will use network-based location technologies to find Defendant or the
                                                                                                                                     data      only while the Bond is in force and during any
     for the collection of your location information; (c) Surety will retain location
                                        period;     (d)   Surety     will   disclose       location         informatio        n  only      to   the Courts as required by Court Order; (e) Surety
     applicable Bond remission
                                                                                         tives,     will    be    the   only     persons          with access to your location information; (f) YOU
     and Bail Producer, including their agents and representa
                                                                                                                                          G    DURING          THE PERIOD THE BOND IS IN FORCE
     WILL NOT HAVE THE OPTION TO OPT-OUT OF LOCATION USE OR TRACKIN
                                                REMISSIO         N    PERIOD;           and      (g)   all  questions         relating        to   location     capability should be directed to Surety.
     AND ANY APPLICABLE BOND
                                                                                                                                              Defendant waives any rights to oppose extradition
      17. If you leave the state in which the Bond was issued, subject to applicable law,
                                                                                                   may       be    necessary           to   return      Defendant to Surety and the Court where the
      proceedings and consents to the application of such force as
      Bond was     posted.
                                                                                                                                                  state or federal law, then such provision shall
      18. In the event any provision herein shall be deemed to exceed any applicable
                                                                          to  comply        with      such       law   so    as   to    provide         Surety with the maximum protection from any
      automatically be deemed to have been revised
                                                                                                                                (or      portion       thereof)      shall in no way effect the validity or
      loss or Liabilities. The invalidity or unenforceability of any provision herein
                                         provision     (or   portion      thereof)        of   this    Agreemen           t.  Surety        may       assign     any     of its rights herein or arising out of
      enforceability of any other
                                                                                   party      including,          without      limitation,          any    Assignee        without notice to or consent from
      any of the transactions contemplated hereby to any
                                                                                                                                         have     the    right   to   enforce     in any action or proceeding
      you. Subject to any limitations imposed upon Assignee by Surety, Assignee shall


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                                                                                                                                                                                               EMPOWERING AGENTS




                                                                                            Ex. B                                                                                   ACC0066
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 Terms And Conditions               (Continued from page 3)

                                                                                           hereby, and you shall not, and expressly waives any
 any of Surety's rights herein or arising out of any of the transactions contemplated
                                                                                             such rights in any such action or proceeding.
 right to, assert the claim or defense that Assignee does not have the right to enforce
                                                                                           Agreemen t set forth all the terms of the agreement
 19. This Agreement and all documents that are executed in connection with this
                                                  , representa tions,  promises,   agreemen   ts, and affirmations made by the Surety or Bail
 between the Surety and you. All statements
                                                                          to or contempo   raneously  with the execution of this Agreement are
 Producer, or any representative, employee or agent, thereof prior
                     this document, and  unless  they  are specificall y set forth in this Agreemen  t, are of no force or effect whatsoever in
 contained within
                                                                                         execute and be bound by any other future documents
 determining the rights and Liabilities of the Surety and you. You further agree to
 necessary to carry out and effectuate this Agreement.


 Supplemental Terms And Conditions
                                                                                                                          Y YOU OWN OR IN WHICH YOU HAVE AN
 IMPORTA NT NOTICE! IF THE BOND WILL BE SECURED BY REAL PROPERT
                                                                             URE    OF    LIEN    AGAINST         REAL       PROPERTY PROVIDED HEREWITH.
 INTEREST, PLEASE SEE THE CALIFORNIA DISCLOS
                                                                                           surrendere      d  to   custody       prior to the time specified in the Bond, you
 1. Defendant understands and acknowledge that if Defendant is
                    under    California    Penal   Code     § 1300(b)    to  petition   the   Court    for  a   ruling    as   to return of premium. If the Court determines
 have the right
                                                                                                                         failed to appear nor violated any Court order, the
 that good cause does not exist for Defendant's surrender, and Defendant has neither
 Court may, in its discretion, order the return of all or a portion of the                    premium.
                                                                                                                  Producer in accordance with the Agreement are:
 2. The specific expenses for which you are required to indemnify Surety and Bail
                                                                                                                         transaction including, but not limited to: (1) guard
      a. Actual, necessary and reasonable expenses incurred in connection with the bail
                                                    Defendant     's release     on   bail;  (2)  notary    fees,     recording        fees, necessary long distance telephone
 fees after the first 12 hours following
                                                                             company        as  "long    distance,"       but   not     those for which "message unit" charges
 expenses (i.e., telephone calls billed by the telephone
         are made);    (3)  telegram   charges,     travel   expenses      and    verification     of Collateral      outside of the county where the bail was arranged;
 only
                                                                                                                 other than that where the bail was arranged (provided
  (4) a reasonable posting fee charged by a Bail Producer operating in a county
                                                                                         office   to  post   bail   in an area where the Bail Producer advertises in the
 that no charge shall be made for travel from the Bail Producer's
                    of  the   telephone     directory     unless   the   advertisem      ent   specificall   y   provides       for this charge). Such travel charges, when
  yellow pages
                                                        allowed    to  be   taken    as   a  travel   expense        for   income        tax purposes under the federal Internal
  permitted, may not exceed the amount
                                                                                                   State   of   California       to   be   claimed for mileage by its employees,
  Revenue Code and related regulations or the amount allowed by the
  whichever the Bail       Producer   chooses;
                                                                                                                             of any of the terms of this Agreement and any
      b. actual, reasonable and necessary expenses incurred and caused by your breach
                                                                  was   written.    This    reimburse      ment     may      not   exceed the penal amount of the Bond and
  other written agreement under which the Bond
                                                                                                           its   employees        ,  partners or other persons associated with
  may include a reasonable charge for the services of the Bail Producer and
  the Bail Producer in the transaction           of the   Bond    on  your   behalf;    and
                                                                                                                            that are incurred within 180 days following the
      c. if a forfeiture of bail occurs and is not set aside, any expenses provided herein
                                                                                   additional      period(s)     as   ordered       by the Court.
  forfeiture (in addition to the amount of the forfeiture) or such
                                                                                              name     appears       as   the    "Depositor     " on the Collateral Receipt or that
   3. Any Collateral received shall be returned to the person whose
                           (which  assignee      may    not   be the  Bail   Producer      or  its  representa      tive,   employee         or agent) as soon as you are advised
   person's assignee
                                                                                                                     discharged. Surety or Bail Producer shall determine
   that the obligation, the satisfaction of which was secured by the Collateral, is fully
                                                                                                         return     of  the Collateral by the Depositor of the Collateral or
   promptly whether the obligation has been discharged upon the request for
                                     If   the  Collateral      was   deposited      to    secure     the   obligation        of the Bond, the Collateral shall be returned
   the Depositor's assignee.
                                                                                 official   stating   that  the    liability   under the Bond is terminated. If Surety or Bail
   immediately upon the entry of any Order by an authorized
                                                                                                            necessary         to   secure the termination of such liability, the
   Producer having custody of the Collateral fail to take promptly any action
                                                     ly  upon   the  accrual     of any    right  to  secure      an   order    of   termination of liability. If the Collateral was
   Collateral shall be returned immediate
                                                                              and    if  such    premium        or   charges        remained      unpaid at the time of discharge/
   deposited as security for unpaid premium or charges,
                                                                                                                               the    Collateral   (other than cash) may be levied
   exoneration and after demand for payment has been made by Surety or Bail Producer,
                                               law,   and    the   proceeds      of  the    Collateral     may     be   applied       to   the  amount   of the unpaid premium or
   upon in the manner provided by
   charges.
                                                                                                                  be returned to the person whose name appears as
   4. If Collateral received is in excess of the bail forfeited, such excess shall
                                     Receipt      after  the  application     of the   collateral    to the   forfeiture      and all amounts owed to Surety.
    Depositor on the Collateral
                                                                                                                            by 10 CCR 2087.
    5. The waivers set forth in Paragraphs 6, 12, and 15 are deleted to the extent required
                                                                                                                 You hereby authorize Surety to conduct or obtain any
    6. Paragraph 15 of the Agreemen t is deleted and replaced with the following:
                                                                                         you    from    any   party     or agency, private or governmental (local, state or
    and all private or public information and/or records concerning
               including,     but not   limited   to,   credit   reports,    Social     Security      Records,       criminal records, civil records, driving records, tax
    federal),
                                                                                                                     tion records, and employment records. You further
    records, telephone records, medical records, school records, worker compensa
                                                                                     or   governme      ntal    (local,    state, federal), contacted by Surety to furnish in
    authorize, without reservation, any party or agency, private
                e  with  applicable   law    any   and   all private   and   public    information      and    records      in their possession concerning you to the Surety
    accordanc
                                                        shall  serve   as  evidence      of  said    authorizati    on.   You     irrevocably grant to Surety and its designees
    and direct that a copy of this document
                                                                                                 or  occupy,      without      notice,     at any time, for the purpose of locating,
    the right to enter your residence, or any other property that you own
     arresting, and returning     Defendan     t to custody.
                                                                                                                    with the following: Subject to any limitations imposed
    7. The final sentence of Paragraph 18 of the Agreement is deleted and replace
                                                                   the  right  to  enforce     in   any  action      or proceeding any of Surety's rights herein or arising
     upon Assignee by Surety, Assignee shall have
     out of any of the transactions contemplated hereby.
                                                                                                                     the Agreemen t remain in full force and effect. In the
     8. Except as expressly provided in this Supplement, all terms and conditions of
                                                    and    conditions     of the  Agreemen        t and   this   Suppleme        nt, this Supplement shall control.
     event of a conflict between the terms


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                                                                                                                                                                      EMPOWERING AGENTS




                                                                               Ex. B                                                                        ACC0067
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                                                                   BAIL BO ND AG RE EM EN T
                                                                                                                             have made or do                                 now make         applica tion to
                                                                                          First Party, whethe r one or more,
            WHER EAS, the            unders igned, herein after called the
                                                                                                                                           or secure the
                                                                                             called the Second Party, to have execute d
                                                              - - - - - - - - - hereina fter
                                               -------------                                                  fter called the Surety, of a Bail Bond in
       -------------                                                     _ _ _ _ _ , a corpora  tion, hereina
                                                             ______
                                               _____________
      execution by the {fill in compan y name)                                                                                             _ _ __                         _______
                                                           of _ _ _ _ _ _ _ _ _ _                                      ______________
                           _ _ _ _ _ _ _ _ _ _ _ on behalf
      the penal sum of$
      hereinafter called the Defendant, and                                                                                                                                                                    the
                                                                                                                                                                 Second Party has heretofore arrange d for
                                                                                                                would be executed by the First Parties. the
                                                                  anding and conditi on that this agreement
             WHER EAS, upon and with the express underst
                                                 agree to arrange for the execution of the same.
      execution of said Bail Bond or does hereby                                                                                                                                           have
                                                                                                                                              the event that said Bail Bond shall already
                                                                                                   on of the Bail Bond aforementioned, or in
                                                      the Second Party arrangi ng for the executi                       Party causing the Surety to permit the Defend
                                                                                                                                                                      ant to remain for the time
             NOW, THERE FORE, in consideration of                               for and in conside ration of the Second
                                                from custody thereon, then and
      been execute d and the Defendant released                                                                                        y agree and promise as follows:
                                                                                           each of them do hereby jointly and severall
                                               under said 88.il Bond, the First Party and
      being free from the custody of the Coun
                                                                                                      FIRST                                                                                          e
                                                                                                                                                             Bond and a like sum annuall y in advanc
                                                                                                               m for and upon the execution of said Bail
                                                              SUM OF$ _ _ _ _ _ _ _ as premiu                                                        for extraordinary services, if any.
              TO PAY TO THE SECON D PARTY THE                                                          der, and ~o pay  to the Second  Party charges
       each year hereafte r until the Surety shitll
                                                     be legally discharged from all lia,bility thereun
                                                                                                                                                                                               custody
                                                                                                                                                      ant may have been improperly taken into
                                                               earned immediately   upon   the filing of said Bail Bond, and the fact that the Defend
              The said premiu m shall be regarded as fully                          the Second     Party to waive  or return said premiu m or any portion thereof.
                                                    ed forthwith shall not obligate
       or his Bail reduced, or his cause dismiss
                                                                                                 SECO ND                                                            s, attorney's fees, debts, damage s,
                                                                                                                against any and all liability, demands, expense
                                                                 s the Second Party or the Surety from and                                  cause sustain, incur or be put to by reason
                                                                                                                                                                                        of the executi on
              To indemnify and to at all times save harmles                                          shall or may   at any time or for any
                                                    er or nature that the Second Party or the Surety                                   in continuance thereof or as a substitute therefo
                                                                                                                                                                                         r; to pay to th~
       judgme nts, or losses of every kind, charact                                     or any  renewal thereof  or any  bond issued
                                                  on of the bail bond aforem entione d                                                                         paymen t necessary for protection, upon
       or the arrangi ng or obtaining the executi                                          bai1 bond whenev   er the Second Parly or the Surety deems such
                                                                                                                                                      hereunder: TO PAY TO THE SECOND PARTY
                                                 upon demand the penal     amount  of said
       'Second Party or the Surety immediately                                                        by the Second Party or the Surety as security
        any change of c~mdition which increases
                                                  the hazard, which sum shall be retained and used                                     PENAL AMOUNT THEREOF.
                                                                                           SAID BAIL BOND THE
                                                          THE DECLARATION OF FORFEITURE OF
       OR THE SURETY IMMEDIATELY UPON
                                                                                                    THIR         D
                                                                                                                                                                any and all liability under said bail bond,
                                                                                                                 tion of the Second Party or the Surety from
                                                             or the Surety in securin g the release or exonera                       sole discretion deem such action necessa
                                                                                                                                                                                  ry or advisable, and even
               To aid and coopera te with the Second Party                                the Second   Party  or  the Surety  in its
                                                    to the custody of the Court should                                                                                     and no obligat ion shall exist on
        including the surrender of the Defend ant                               been   forfeite d or any liability incur(ed  thereon by the Second Party or the Surety                              ssioner.
                                                                            ha~
        though such surrend er may have been made
                                                       before the bail bond                                                                          d by law or the rules of the Insurance Commi
                                                                                                     thereof. ex:cept as may be otherwi se require
                                                   to return or waive the premiu m or any portion
        the part of the Second Party or the Surety
                                                                                                      FOURTH
                                                                                                                                                                        s or liabilities incurre d in searchi ng for,
                                                                                                                         of the bail bond, for any and a11 expense
                                                                    in an amount not to exceed the penal amount                                     apprehe nding or endeavoring to apprehe
                                                                                                                                                                                                 nd the Defendant,
                  To reimburse the Second Party or the Surety,                                          of  employ  ees  during   the  time  spent
                                                       the custody of the Court, includi ng salaries                               s, railroad or air fares, meals ll.nd any and
                                                                                                                                                                                   all other expens es or liabilities
        recapturing or returning the Defend ant to                                    s, telepho ne calls, automo   bile expense                                                                         fees incurred
        expenses for private detectives, rewards,
                                                      traveling expenses, telegram                                                                        ant, including also liability for attorne y's
                                                                                                       or in endeav oring to apprehend the Defend
                     by the Second Party or the Surety  as necessary or incidental -in apprehending                               order   of forfeitu re  or the judgme nt entered  thereon and even though such
        incurred                                                                                               or set aside the
                                                           application to the Court for an order to vacate                                           may have been incurred after the time for
                                                                                                                                                                                                    the setting aside
         by the Second Party or the Surety in making                                                bail bond or even though !-.uch expense.~
                                                      any order had been made forfeiti ng said                                                          the Second Party or any officer or attorney
                                                                                                                                                                                                        -in-fact of the
         expert,;;e.°' may have been incurred before                                                   stateme  nt of such   expense   s sworn   to by
                                                         bond shall have expired~ thm an itemized                                        er. AI1 money owing to the Second Party,
                                                                                                                                                                                        pursuan t to this Agreem ent,
         of the forfeiture declared upon the said bail                                        expense  s in any and  all  suits hereund                                                                            and
                                                             e of the fact and extent of such                                                                      zes Second Party to conduc t a credit check
         Surety shall be accepted as prime facie evidenc                                                  interest. Additionally. First Party hereby authori
                                                           accrue monthly at the highest legal rate of
         that is in arrears for a period of 30 days, shall
         other financial inquiries on First Party.
                                                                                                FIFTH                                                                                       other
                                                                                                                                                 mentioned bail bond was execute d or any
                                                                                                    ant on the same charge for which the above
                                                           other bail bonds execULed for the Defend                                 bail bond or bonds are filed before or after
                                                                                                                                                                                 conviction or on
                 This agreement shall apply to any and all                                      tances regardl ess of whethe r said
                                                     of the same general trammction or circums
          charge connec ted therewith or arising out
          appeal, but not in a greater amount.
                                                                                                    SIXTH                                                                                                  is
                                                                                                                                                       with the Second Party or the Surety. or which
                                                                                                           paid or depo.~ited or may pay or deposit
                                                            which the undersigned or any of them have                                                                as r;_ollateral or at the option of the
                That any and all money or other property                                        the undersigned, may    be held by  the Second   Party or the Surety
                                                    Second Party or the Surety belongi ng to                                                  But nothing herein shall be a waiver by the
                                                                                                                                                                                                deposit or of
          or may at any time be in the hands of the                                                matters contained herein or any of them.
                                                      as collateral security or indemn ity for the                                              th as against the Surety.
          Second Party or the Surety may be applied                                                  hereafte r acquire in connec tion  therewi
                                                    or of any right or rights he may have or shall
          ariy money or property or by any guarant
                                                                                                         SEVENTH                                                           or the Surety under this indemnity
                                                                                                                         of    this agreement incurred by the Second Party
                                                                      "s fees in the event of suit hereund er for breach
                 To pay the Second Party or the Surety attorney
           agreement.
                                                                                                   EIGHTH
                                                                                                                                                       to be true and we agree to advise the Second
                                                                                                          statement<; made on the reverse of this page
                                                               described bail bond we warrant all of the                                  and agree that any failure to so notify shall
                                                                                                                                                                                        be cause for the
                  ln making application for the hereinabove                                               after such change has occurre d
                                                          (especially change of address ) within 48
                                                                                                    hours
           Party or the Surety or its agent of any change
           immediate surrend er of the Defendant.
                                                                                                                  VERILY STATE THAT THEY
                                                                               PT OF THE FOREGOING AGREEMENT AND
                                                  D DO HEREBY ACKNOWLEDGE RECEI
                IN WITNESS WHEREOF THE UNDERSIGNE                            CONTE NTS THEREOF and do now set
                                            READ THE SAME AND UNDERSTAND THE
           AND EACH OF THEM HAVE CAREFULLY                                                               _ _ _ _ _ __
                                                _  day of _ _ _ _ _ _ _ _ _ _____________
                   this _ _ _ _ _ _ _ _ _ _ _ _
            their hand

                                                                                                                                                                                                                     _
                                                                                                                                    _                                 _____________
                                                                                                                     s ____________
                           __                                      _ _ _ _ _ _ _ _ _ _ _ Addres
             _____________
                                                                                                                                                                                                                     _
                                                                                                                                         ___                          _____________
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